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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF GEORGIA
                              ROME DIVISION

UNITED STATES OF AMERICA,
                                             CRIMINAL ACTION FILE
     v.
                                             NO. 4:17-CR-006-HLM-WEJ-1
BRIAN HERNANDEZ ACOSTA,

          Defendant.

               NON-FINAL REPORT AND RECOMMENDATION

          This matter is before the Court on defendant Brian Hernandez Acosta’s

Motion to Suppress Evidence [50] and Motion to Suppress Statements [51]. On

September 13, 2017, the Court conducted an evidentiary hearing [77] regarding

these Motions, which has been transcribed [82] (hereafter “Tr.”). The parties

have also briefed the issues raised. (See Gov’t Br. [90]; Def.’s Resp. [100]; Gov’t

Reply       [134].)    For   the   reasons   explained   below,   the   undersigned

RECOMMENDS that both Motions be DENIED.

I.        THE INDICTMENT

          On April 11, 2017, a grand jury in the Northern District of Georgia

returned an eight-count Indictment [1] against Brian Hernandez Acosta, Nilageo

Alvarez Acosta, and Jaime Adam Riano, charging conspiracy to commit sex

trafficking of a minor, in violation of 18 U.S.C. § 1594(c), sex trafficking of a
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minor, in violation of 18 U.S.C. § 1591, and transportation of a minor for

prostitution, in violation of 18 U.S.C. § 2423(a). The Indictment charges Brian

Hernandez Acosta (“Defendant”) in all eight counts.       The Indictment also

contains a forfeiture provision.1

II.   STATEMENT OF FACTS

      A.     Events of December 19

      On December 19, 2016, Detective Aberhoff of the Miami Dade Police

Department contacted the Dalton Police Department regarding A.M., a sixteen-

year-old girl who had been missing for approximately three months. (Tr. 8, 47.)2

She spoke to Detective Aaron Simpson of the Dalton Police Department, who is

also assigned to the FBI’s Conasauga Safe Streets Task Force. (Id. at 6, 7.)

Detective Aberhoff conveyed to Detective Simpson that during the course of the

search for A.M., she had detected activity on Facebook by A.M. (under an alias)

and had served subpoenas on Facebook in an effort to determine A.M.’s location.

(Id. at 8-9.) A review of A.M.’s Facebook activity log showed IP addresses


      1
        The grand jury returned a First Superseding Indictment [102] on
December 5, 2017, which named two more individuals (Anthony Joseph Lawhon
and Brandi Rice Stumpe) and alleged seven more counts.
      2
        The Government spells this detective’s name as “Averhoff.” The Court
uses the spelling found in the Transcript.

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associated with her Facebook page. (Id. at 9.) A review of those IP addresses

pointed to a cell phone registered to T-Mobile, which detectives then subpoenaed.

(Id.) A review of T-Mobile’s subpoena responses indicated that Defendant was

the account holder for the device that A.M. had used to log into her Facebook

account. (Id. at 9, 77.)

      Detective Aberhoff gave Detective Simpson the address linked to

Defendant’s T-Mobile account in Dalton, as well as two other Dalton area

addresses, and asked him to check them out to see if he could locate A.M. (Tr. 9-

10.)3 Detective Simpson looked up Defendant in the Dalton Police Department’s

report system to corroborate the addresses, examined Defendant’s Facebook page

to identify him, obtained a copy of Defendant’s driver’s license, and obtained a

picture of A.M. from Detective Aberhoff. (Id. at 10.)

      Detective Simpson, accompanied by Detective Tucker, traveled first to

2410 Scott Drive, arriving there about 2:00 p.m. (Tr. 10.) They encountered a

woman in a basement-type apartment and showed her a picture of Defendant. (Id.

at 11.) This woman recognized Defendant, but reported that he was not there and


      3
       Those addresses included 2410 Scott Drive and 496 Horseshoe Way, Apt.
J-204. (Tr. 9-10.) The detectives determined that the third address associated
with Defendant was a restaurant that was no longer in business. (Id. at 10, 12.)

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did not live there. (Id.) The detectives then traveled to 496 Horseshoe Way,

which was an apartment complex called Dawnville Meadows.                (Id.)   The

detectives made contact with the apartment complex manager, who confirmed

that Defendant lived there in unit J-204 and described his vehicle. (Id. at 11, 64.)

The detectives also showed A.M.’s photograph to a maintenance worker for the

complex, who remembered that he had seen her crying behind a dumpster close to

Defendant’s apartment only a couple weeks earlier.         (Id.)   When detectives

knocked on the door of unit J-204, no one answered. (Id. at 12.)

      While still at the complex, Detective Simpson received a telephone call

from another Dalton Police Department detective, who advised that Defendant

had called the Department wanting to know why the police were looking for him.

(Tr. 12.) Detective Simpson asked that detective to obtain contact information

from Defendant and he (Simpson) would call him back. (Id.) When Detective

Simpson arrived back at the station, the found a note from that detective listing

three callback telephone numbers for Defendant. (Id. at 12-13, 49.) One of those

numbers was for Defendant’s personal cell phone (706-218-0655). (Id. at 13-14,

48-49, 73.)

      At about 4:00 p.m. on December 19, Detective Simpson made a recorded

call to Defendant’s personal cell phone. (Tr. 13.) Defendant answered and

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Detective Simpson explained that he was looking for a missing sixteen-year-old

girl from Miami known as A.M., and that he had information indicating that

Defendant knew where she was or where she had been, and that Defendant had

been associated with her. (Id.) Detective Simpson asked Defendant directly

where A.M. was and how he could find her to get her home before Christmas.

(Id.) Defendant denied knowing A.M. (Id. at 14.) Defendant further claimed

that he was in Tampa, Florida until January 18, 2017, but he would contact

Detective Simpson if he had further information. (Id. at 14, 41.) Defendant never

called Detective Simpson back. (Id. at 14.) Moreover, as discussed below,

Defendant was actually in Dalton, not Tampa. (Id. at 41.)

        B.   Events of December 28

      On or about December 28, 2016, Detective Aberhoff contacted the Dalton

Police Department and advised that she had located A.M.’s photograph in an

advertisement posted in the escort services section of a website called

www.Backpage.com. (Tr. 15-16.) It appeared that A.M. was in an advertisement

for prostitution services; thus, the Detectives became concerned that a missing

person case was turning into a sex trafficking case for a minor who needed to be

found and rescued. (Id. at 16-17.)



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      Also on December 28, 2016, law enforcement officers attempted to

conduct an operation designed to recover A.M. and any other minors being

trafficked for commercial sex. (Tr. 17, 47-48.) Attempts to contact the telephone

number listed in the advertisement with A.M. (706-463-8899) were unsuccessful.

(Id. at 17-18, 48, 71.)

          C. Events of December 29

             1.     The Undercover Operation

      On December 29, 2016, Detective Simpson, acting in an undercover

capacity, sent text messages and placed calls to (706) 463-8899, the number on

the advertisement featuring A.M., in an attempt to meet (and rescue) A.M. at a

Dalton hotel room (located at 1507 N. Tibbs Road) under the guise of requesting

escort services. (Tr. 18-19, 42.) Between 2:00 and 3:00 p.m., Detective Simpson

received a response from someone who called herself “Bianca,” later identified as

minor victim L.H. (Id. at 19, 82.) Detective Simpson asked for “Rachel,” A.M.’s

Backpage identity, but L.H. advised that A.M. was not available but she was. (Id.

at 19.) Detective Simpson asked L.H. if she could do an “outcall.” (Id.) 4 L.H.



      4
        In an “outcall,” the prostitute travels to the John’s (i.e., a male customer)
location. (Tr. 19, 72.)

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replied that she could, that she could meet Detective Simpson within thirty

minutes, and that her rate was $150 for one-half hour. (Id. at 19, 42, 63-64, 82.)

Detective Simpson then provided L.H. both the address and hotel room number.

(Id. at 20, 82.)

       Sometime before 3:00 p.m., a surveillance unit providing support near the

designated hotel observed a car enter a nearby parking lot and drive recklessly.

(Tr. 20, 47, 82.) When law enforcements officers stopped the vehicle for reckless

driving, they encountered L.H. in the passenger seat and defendant Nilageo

Alvarez Acosta in the driver’s seat. (Id. at 20.) Because defendant Alvarez

Acosta had the same last name as Defendant, and because defendant Alvarez

Acosta had a girl in his vehicle, Detective Simpson believed that officers had

stopped the vehicle transporting the girl for an outcall. (Id.) For verification,

Detective Simpson called the same number that he had used to make contact with

“Bianca,” and a phone in the possession of defendant Alvarez Acosta and L.H.

rang. (Id. at 21.)

       GBI Agent Rene Green and Detective Tucker interviewed L.H. on the

scene beginning at approximately 3:00 p.m., and relayed what they learned to

Detective Simpson. (Tr. 21, 74-75.) During the interview, L.H. advised that

Defendant was prostituting her; that Defendant knew she was a 17-year-old high

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school student; that defendant Alvarez Acosta had driven her to the hotel for the

purpose of commercial sex; and that A.M. looked familiar to her. (Id. at 21-22.)

L.H. also explained that defendant Alvarez Acosta and Defendant are brothers,

and conveyed that Defendant had been calling defendant Alvarez Acosta’s cell

phone repeatedly during the traffic stop. (Id. at 22.) L.H. added that Defendant

ran a prostitution operation out of his apartment located at 496 Horseshoe Way, J-

204. (Id.) Finally, L.H. relayed that Defendant used his personal cell phone to

take pictures of her and other girls and then used that cell phone to post those

pictures on Backpage. (Id. at 22, 72-74.)

            2.     Events at the Apartment Complex

      Based on the initial information obtained in the interview of L.H.,

Detective Simpson, FBI Special Agent Susan Scott, and other law enforcement

officers traveled to the Dawnville Meadows Apartments on December 29 to set

up surveillance. (Tr. 22-23, 47-48.) While waiting there from approximately

3:00 to 4:00 p.m., Detective Simpson received periodic updates from Detective

Tucker about his continuing interview with L.H. (Id. at 23, 75.)

      At about 4:00 p.m., as Detective Simpson and Agent Scott sat in his vehicle,

Defendant, accompanied by a male passenger, parked in the adjacent space,

exited his vehicle, and started running toward his apartment. (Tr. 23-26, 52, 79.)

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As Detective Simpson exited his vehicle, Defendant suddenly turned around and

ran back toward his car. (Id. at 24, 52.) Detective Simpson, unsure whether

Defendant had noticed the surveillance units and might be trying to leave, showed

Defendant his badge, identified himself as law enforcement, informed Defendant

that they needed to talk, and directed him to the back of his car. (Id. at 24, 41, 53-

54.) At about the time Defendant reached the back of his car, he removed a cell

phone from his pocket. (Id. at 55.) 5

      After Defendant saw Detective Simpson’s credentials, Defendant asked a

series of questions, including, “What’s this about? Why are you stopping me?

and “Why are we doing this in front of my house?” (Tr. 25.) Detective Simpson

wanted to talk to Defendant, but before proceeding, Detective Simpson,

accompanied by FBI Agent Manson, patted down Defendant for weapons. (Id. at


      5
         The cell phone in defendant’s possession was a gold Samsung Galaxy.
(Tr. 44.) Detective Simpson testified to his belief that L.H. had, during the
aforementioned interview with Detective Tucker, described the appearance of
Defendant’s cell phone. (Id. at 55-56, 58-59.) Given L.H.’s report that
Defendant had used his personal cell phone to take photographs of her and other
girls and post them on Backpage, and given Defendant’s vehement and repeated
protests that Detective Simpson could not take his personal cell phone (discussed
infra), it was reasonable for Detective Simpson to believe that the cell phone in
Defendant’s hand was the one mentioned by L.H. even if he did not know its
color, make, and model when he encountered Defendant at the apartment
complex.

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25-26, 53.)6 Detective Simpson then told Defendant that he needed to ask him

some questions, but would first need to retrieve his notebook and a recorder from

his nearby vehicle, which he did. (Id. at 25, 27, 55.) 7 At this time, Defendant

was not under arrest, was not handcuffed, was not restrained in any way, and no

one ever pointed a gun at him. (Id. at 26-27.) Although Detective Simpson and

other officers had firearms, the weapons were concealed. (Id. at 27-28, 43, 68-

69.)

       Detective Simpson began the conversation by reminding Defendant that

they had spoken over the telephone earlier that day and that officers were looking

for A.M., a missing sixteen-year old female from Miami. (Tr. 28.) According to

Detective Simpson, Defendant responded in an argumentative and aggressive



       6
        Detective Simpson engaged in the pat down for officer safety. In his
experience, persons involved in pimping and sex trafficking commonly carry
weapons. (Tr. 26.) No weapons were found. (Id. at 54.) As Detective Simpson
and Agent Manson focused on Defendant, Agent Scott focused on questioning
Defendant’s male passenger; all officers were in plainclothes. (Id. at 26, 69.)
Sergeant Zahn was also present and was heard only briefly on the recording. (Id.
at 67-68.) Detective Murray was also at the apartment complex but not close to
where the encounter occurred. (Id. at 68.)
       7
        Detective Simpson’s practice is to record all interviews, custodial or not.
(Tr. 28.) The recording the Detective made of his approximately twelve-minute
encounter with Defendant is in evidence as Government Exhibit 1. (Id. at 39-40,
54-55.)

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fashion, which led the Detective to get firm with him and remind him that this

was a serious matter. (Id.) Defendant reportedly said things like he did not know

what the Detective was talking about, that officers had stopped him for no reason,

and that officers did not have probable cause. (Id. at 29, 77.) Detective Simpson

began to get frustrated with Defendant because he believed Defendant was lying

about having no association with A.M., and because recent events showed that

Defendant was also associated with L.H., a second minor victim. (Id. at 28.) 8 In

response to Defendant’s demands, Detective Simpson explained the probable

cause that officers had developed so he would realize that they had more than

“just a hunch” that he was associated with A.M. and L.H. (Id. at 29.)

      When Detective Simpson realized that their conversation was not going

anywhere given Defendant’s lack of cooperation, he explained to Defendant that

he was not under arrest, but that he was not free to leave; that officers believed he

was operating a prostitution ring involving minor girls out of his apartment; that


      8
        Detective Simpson testified that the evidence contradicted Defendant’s
claim that he did not know A.M. For example, the T-Mobile records showed that
A.M. had been using a cell phone connected to Defendant; L.H., who was found
in a car with Defendant’s brother and with a cell phone Defendant had been
calling repeatedly, informed Detective Tucker that she knew A.M.; and the
maintenance man at the apartment complex where Defendant lived recognized
A.M. and had recently seen her crying beside a dumpster. (Tr. 78.)

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officers would be securing his apartment and his cell phone; and that agents

would be writing search warrant applications for his apartment and his cell phone.

(Tr. 29, 32-33, 44, 67; see also Gov’t Ex. 1.)

      Upon hearing this information, Defendant became more aggressive and

belligerent, asserting “You can’t take my phone. I want to talk to a lawyer.” (Tr.

29, 73-74.) 9 Detective Simpson gave Defendant permission to call a lawyer. (Id.

at 30.) However, after going through his cell phone’s contacts, Defendant could

not remember the lawyer’s name or find his number. (Id.; see also id. at 31-32,

60.) Defendant even called a friend to get the name of a lawyer, but the friend did

not answer. (Id. at 31, 60-61.)

      Defendant then argued more with Detective Simpson over whether officers

could seize his personal cell phone. (Tr. 30; see also Gov’t Ex. 1.) Detective



      9
         In response to the Government’s description of Defendant as aggressive
and belligerent, he responds that the officers lost their tempers and raised their
voices at him. (Def.’s Resp. 4, citing Gov’t Ex. 1.) The recording shows that
Defendant was verbally combative and that the officers became exasperated with
him. However, the Court heard nothing on that recording which causes concern.
In fact, the officers’ voices were remarkably calm given the urgency they
obviously felt to find the missing girl(s). Moreover, while Defendant contends
that this encounter was an interrogation, he asked a number of questions which
Detective Simpson tried to answer. (Tr. 43.) In the end, the recording sounds
more like an argument.

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Simpson explained that he had probable cause to believe that Defendant’s cell

phone contained evidence of child sex trafficking, and that while the cell phone

would not be searched at that moment because it would take time to prepare a

warrant application, officers could take the cell phone to prevent Defendant from

deleting any evidence stored in it. (Tr. 30.)10

      At this point, Detective Simpson took hold of Defendant’s wrist so that he

could not throw or destroy his cell phone and took it out of Defendant’s hand. (Tr.

33, 44, 69.) Defendant protested, but Detective Simpson secured the phone, 11

returned with it to his office, and began preparing a warrant application to search

it. (Id. at 33-34.) 12 Approximately twelve minutes transpired between Detective



      10
         Detective Simpson explained that the contents of a cell phone could
easily be deleted by someone holding it or deleted by remote means. The cell
phone could also be broken, which could destroy the evidence on it. (Tr. 30.) He
wanted the cell phone’s contents preserved for use in finding A.M. and any other
minor victims. (Id.)
      11
         To secure the cell phone, Detective Simpson placed it in airplane mode
(which he did without entering the phone itself) and placed it in an evidence bag.
Airplane mode would prevent anyone from remotely locking or wiping the data
off the device. (Tr. 61-62).
      12
        Defendant’s cell phone was initially searched pursuant to a Whitfield
County search warrant (dated January 3, 2017). A federal search warrant was
subsequently obtained on June 27, 2017 after issues arose with executing the
Whitfield County warrant. (Tr. 35-37; Gov’t Exs. 2, 3.)

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Simpson’s first encounter with Defendant at the apartment complex and his

seizure of Defendant’s phone. (Id. at 39.) At no point during this twelve-minute

encounter did anyone place Defendant in handcuffs, restrain him, or make

physical contact with him (other than when Detective Simpson took hold of his

wrist to seize the phone). (Id. at 43-44.) Other than his cell phone, no other item

was seized from Defendant’s person that day. (Id. at 38, 45, 50.)

            3.     Defendant’s Arrest

      The investigation on December 29, 2017, was fast-moving.                While

Detective Simpson worked on a search warrant application for Defendant’s cell

phone, Detective Tucker finished interviewing L.H. and began working on a

search warrant application for Defendant’s apartment at 496 Horseshoe Way, J-

204, Dalton, Georgia. (Tr. 34, 71.) Defendant’s brother, Alvarez Acosta, who

had been arrested after the traffic stop, was also interviewed by Detective

Simpson. (Id. at 34, 70-71.) Moreover, officers also worked to prepare a search

warrant application for L.H.’s cell phone, defendant Alvarez Acosta’s cell phone,

and for an email account associated with the Backpage ads. (Id. at 35, 71.)




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      Between 4:00 p.m. and 6:15 p.m., while Defendant was waiting outside his

apartment along with the other agents, he was offered a jacket and water, both of

which he declined. (Tr. 38, 46, 70.)13 Defendant remained detained on the scene

while the investigation continued and never complained that he was physically

harmed in any way. (Id. at 44-45, 46.) Other than the aforementioned twelve

minute interaction, Detective Simpson testified that no interrogation of Defendant

took place, pre-custody or post-custody, and he was not threatened or beaten

while he waited. (Id. at 38-39, 45-46.) Although he was not free to leave,

Defendant was not restrained or placed in handcuffs until he was arrested at about

6:15 p.m. (Id. at 38-39, 45-46, 66-67, 79.) Following all of the aforementioned

investigative activity and a conference among officers concerning the evidence

collected, Detective Tucker made the decision to arrest Defendant for prostitution

of a minor. (Id. at 59, 70.) The arrest occurred before the search of Defendant’s

apartment. (Id.)




      13
        Defendant complains that it was cold as he waited outside for agents to
return with the search warrant for his apartment. (Def.’s Resp. 5-6.) Defendant is
heard on the recording complaining about the cold on at least two occasions. (See
Gov’t Ex. 1.) However, defendant was offered a jacket which he refused. If
Defendant was cold, he has no one to blame but himself.

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III.   ANALYSIS

       A.    Defendant’s Motion to Suppress Evidence

       Defendant challenges the warrantless seizure of his cell phone. He asserts

that Detective Simpson did not have probable cause to seize it, because he lacked

sufficient facts to conclude that his cell phone was the one L.H. had alleged was

used to take photos of the minor girls for the Backpage ads. (Def.’s Resp. 10.)

The Government asserts that Detective Simpson had probable cause to seize

Defendant’s cell phone, not only because of information supplied by L.H., but

also from the investigation to that point, including T-Mobile records linking

Defendant to A.M., photographs of A.M. appearing on Backpage, and

Defendant’s denial that he knew A.M. when the evidence suggested otherwise.

(Gov’t Reply 10-11.)

       The Fourth Amendment guarantees “[t]he right of the people to be secure

in their persons, houses, papers and effects, against unreasonable searches and

seizures, shall not be violated, and no Warrants shall issue, but upon probable

cause.” U.S. Const. amend. IV. “A ‘seizure’ of property occurs when there is

some meaningful interference with an individual’s possessory interest in that

property.” United States v. Jacobsen, 466 U.S. 109, 113 (1984). Warrantless

seizures are “per se unreasonable under the Fourth Amendment—subject only to

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a few specifically established and well-delineated exceptions.” United States v.

Ross, 456 U.S. 798, 825 (1982) (internal citation and quotation marks omitted).

      One of those exceptions is “exigent circumstances,” which allows police to

bypass the warrant requirement when “the exigencies of the situation make the

needs of law enforcement so compelling” that a warrantless seizure becomes

reasonable. Kentucky v. King, 563 U.S. 452, 460 (2011) (internal quotation

marks and citation omitted).

            Courts have catalogued several situations in which exigent
      circumstances exist, but it is clear that the exception must be applied
      carefully to each factual scenario. Exigent circumstances that have
      been recognized include: danger of flight or escape; danger of harm
      to police officers or the general public; risk of loss, destruction,
      removal, or concealment of evidence; and “hot pursuit” of a fleeing
      suspect.

United States v. Blasco, 702 F.2d 1315, 1325 (11th Cir. 1983); see also Arkansas

v. Sanders, 442 U.S. 753, 759 (1979) (Exigent circumstances exception applies in

“those cases where the societal costs of obtaining a warrant, such as danger to law

officers or the risk of loss or destruction of evidence, outweigh the reasons for

prior recourse to a neutral magistrate.”).

      “The test of whether exigent circumstances exist is an objective one.

‘[T]he appropriate inquiry is whether the facts . . . would lead a reasonable,

experienced agent to believe that evidence might be destroyed before a warrant

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could be secured.’” United States v. Tobin, 923 F.2d 1506, 1510 (11th Cir. 1991)

(en banc) (quoting United States v. Rivera, 825 F.2d 152, 156 (7th Cir. 1987)).

Because the protections of the Fourth Amendment are crucial to a free and viable

society, the government shoulders a heavy burden of justifying the failure to

obtain a warrant prior to the intrusion. United States v. Jeffers, 342 U.S. 48, 51

(1951).

      In this case the record is clear that Detective Simpson had probable cause

to believe that Defendant was engaged in sex trafficking of underage girls and

that his cell phone contained evidence relevant to that suspected crime. 14 A.M.

was using a cell phone connected to Defendant; L.H. reported that Defendant had

used his cell phone to take pictures of girls and post them on Backpage;

Defendant had made several calls to a cell phone found in the car driven by

Defendant’s brother (and in which L.H. was a passenger); A.M. had been

identified by someone at the apartment complex where Defendant lived and seen


      14
         Probable cause exists when “the known facts and circumstances are
sufficient to warrant a man of reasonable prudence in the belief that contraband or
evidence of a crime will be found.” Ornelas v. United States, 517 U.S. 690, 696
(1996). Probable cause deals in probabilities that “are not technical; they are the
factual and practical considerations of everyday life on which reasonable and
prudent men, not legal technicians, act.” Brinegar v. United States, 338 U.S. 160,
175 (1949).

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crying by a dumpster; and when confronted by officers, Defendant did not want

to surrender his personal phone.15

      The risk of loss or destruction of evidence if Defendant were allowed to

retain his cell phone while officers applied for a warrant to search it created

exigencies which outweighed prior recourse to a neutral magistrate. See United

States v. Atkins, 702 F. App’x 890, 896 (11th Cir. 2017) (per curiam) (“‘A

temporary warrantless seizure supported by probable cause is reasonable so long

as the police diligently obtained a warrant in a reasonable amount of time.’”)

(quoting United States v. Laist, 702 F.3d 608, 613 (11th Cir. 2012)); United

States v. Harris, 688 F. App’x 223 (4th Cir. 2017) (per curiam) (noting “that the

warrantless seizure of the cell phone was reasonable in light of the exigent

circumstances”). Therefore, the Government having met its burden to establish


      15
         Plaintiff seems to challenge L.H.’s veracity as an unconfirmed informant
under Illinois v. Gates, 462 U.S. 213 (1983). (Def.’s Br. 10.) However,
information provided by L.H. was corroborated. (See Tr. 42.) Moreover, officers
had more than just the interview with L.H. on which to base probable cause.
Additionally, the Court rejects Defendant’s argument that Detective Simpson had
not been provided a description of the Gold Samsung Galaxy cell phone before its
seizure. (Def.’s Br. 10.) As explained supra note 5, the Detective recalled that he
had been provided a description of the Defendant’s cell phone before its seizure;
however, even if he was in error as to when he received that description, the facts
show that Defendant’s personal cell phone was being used for illegal activity and
it was clear that the one seized from Defendant was that phone.

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both probable cause and exigent circumstances, Defendant’s Motion to Suppress

Evidence (which pertains to his cell phone) should be DENIED.

         B.   Defendant’s Motion to Suppress Statements

       Defendant argues that while Detective Simpson may have sought to

conduct a Terry stop, 16 he soon became “in custody,” which entitled him to

Miranda warnings before he was questioned (which were not provided). (Def.’s

Resp. 8-9.) Defendant also contends that he invoked his right to counsel during

the encounter. Defendant further asserts that, because his detention lasted from

about 4:00 p.m. to about 6:15 p.m., its length was unreasonable. For these

reasons, Defendant contends that any statements he made should be suppressed.

(Id. at 9.)

       The Government responds that Defendant’s Sixth Amendment right to

counsel did not attach during the non-custodial encounter; that agents

nevertheless allowed Defendant to contact an attorney, but he was not successful;

that Miranda warnings were not required because Defendant was not in custody;



       16
         See Terry v. Ohio, 392 U.S. 1 (1968) (law enforcement officer may
conduct a brief detention of an individual if the officer has a reasonable and
articulable suspicion based upon objective facts that the defendant is committing,
or is about to commit, a criminal act).

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and that the twelve-minute encounter is at issue here, not the one lasting two and

one quarter hours. (Gov’t Reply Br. 7-10.)

      With regard to Defendant’s arguments under Miranda, the right to

warnings based on that decision “attaches when custodial interrogation begins.”

United States v. Acosta, 363 F.3d 1141, 1148 (11th Cir. 2004). Courts typically

apply a two-part test to determine whether a suspect is in custody for Miranda

purposes: “first, what were the circumstances surrounding the interrogation; and

second, given those circumstances, would a reasonable person have felt he or she

was not at liberty to terminate the interrogation and leave.”       Thompson v.

Keohane, 516 U.S. 99, 112 (1995). “[A]lthough a reasonable person in the

defendant’s position may feel constrained not to leave the scene of a police

encounter at a particular moment—and thus may be deemed to have been ‘seized’

by law enforcement—he will not necessarily be considered in ‘custody’ for Fifth

Amendment purposes.” United States v. Luna-Encinas, 603 F.3d 876, 881 (11th

Cir. 2010). In other words, only “suspects ‘subjected to restraints comparable to

those associated with a formal arrest,’ must be advised of their Miranda rights.”

Acosta, 363 F.3d at 1149 (quoting Berkemer v. McCarthy, 468 U.S. 420, 441

(1984).   In assessing whether a reasonable innocent person in Defendant’s

position was subjected to restraints comparable to those associated with a formal

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arrest, the Eleventh Circuit directs this Court to consider the totality of the

circumstances, including whether the officers brandished weapons, touched the

suspect, or used language or a tone that indicated that compliance with the

officers could be compelled, as well as the location and length of the detention.

Luna-Encinas, 603 F.3d at 881.

       In considering the totality of the circumstances here, the undersigned

cannot say that Defendant was in “custody.” Defendant was lawfully seized or

detained as part of a sex trafficking investigation by officers in a public parking

lot.   Although officers patted Defendant down for weapons, he was never

handcuffed and never restrained in any way. The detective and agents were in

plain clothes and never drew or even showed their weapons. When Defendant

asked if he were under arrest, he was told no. Moreover, the mere presence of

multiple officers did not transform his circumstances into custody because only

two (Simpson and Manson) primarily dealt with him, and a third (Zahn) was in

and out of the conversation. Further, the officers never threatened Defendant or

yelled at him and repeatedly sought to explain what was going on. The agents




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even allowed Defendant to look for his attorney’s telephone number on his phone

and to call a friend to obtain the lawyer’s name. 17

      In other, more restrictive circumstances, the Eleventh Circuit has found no

custodial detention. See United States v. Hastamorir, 881 F.2d 1551, 1556 (11th

Cir. 1989) (although the officers detained a suspect by the display of firearms and

handcuffing, the court declined to find that it constituted an arrest).        The

circumstances present here do not establish that Defendant’s freedom of action

was curtailed to a degree associated with formal arrest. See Acosta, 363 F.3d at

1147 (“[O]ur prior opinions confirm, that an investigatory stop does not

necessarily ripen into an arrest because an officer draws his weapon, handcuffs a




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         As noted above, Defendant argued that police violated his right to
counsel. However, the Sixth Amendment right to counsel does not attach until
prosecution is commenced. See McNeil v. Wisconsin, 501 U.S. 171, 175 (1991).
Prosecution had not commenced in December 2016. Defendant’s argument is
likely based on the Supreme Court’s Fifth Amendment jurisprudence, which
guarantees the right to counsel during custodial interrogation. See, e.g., Miranda,
384 U.S. at 436. In other words, Defendant probably meant to argue that
questioning should have ceased when he said he wanted to call his lawyer. See
Edwards v. Arizona, 451 U.S. 477, 484-85 (1981) (once a suspect in custodial
interrogation asserts his right to counsel, not only must the interrogation cease,
but also he may not be approached for further interrogation until counsel has been
made available to him). However, as already ruled, there was no custodial
interrogation; thus, the prophylactic rights imposed by Miranda never attached.

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suspect, orders a suspect to lie face down on the ground, or secures a suspect in

the back of a patrol car.”) (citations omitted).

      Simply because Defendant was not free to leave does not mean that he was

in custody for Miranda purposes. See Maryland v. Shatzer, 559 U.S. 98, 112

(2010) (“Our cases make clear, however, that the freedom-of-movement test

identifies only a necessary and not a sufficient condition for Miranda custody.

We have declined to accord it ‘talismanic power,’ because Miranda is to be

enforced ‘only in those types of situations in which the concerns that powered the

decision are implicated.’”) (quoting Berkemer, 468 U.S. at 437.) The Supreme

Court further noted that “the temporary and relatively nonthreatening detention

involved in a traffic stop or Terry stop . . . does not constitute Miranda custody.”

Id. at 113 (citations omitted). Here, Defendant’s twelve-minute detention before

his cell phone was seized pursuant to probable cause was justified and non-

threatening and did not necessitate Miranda warnings. Further, no one questioned

Defendant after the seizure of his cell phone.

      Finally, with regard to the length of the detention, a focus only on the

twelve minutes which elapsed between Detective Simpson’s initial encounter

with Defendant and the seizure of his cell phone takes too narrow a view of what

occurred here. Defendant was forced to wait two and one-quarter hours between

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his initial encounter with the Detective at roughly 4:00 p.m. and his arrest at

roughly 6:15 p.m.

      “Under Terry v. Ohio, . . . , a police officer may briefly detain an individual

if he has a reasonable and articulable suspicion that a person has committed or is

about to commit a crime.” United States v. Williams, 185 F. App’x 866, 868

(11th Cir. 2006) (per curiam) (citation omitted). “To determine whether the

manner and length of an investigatory detention during a Terry stop was

reasonable, [courts] ‘apply four non-exclusive factors.’” Id. at 869 (quoting

Acosta, 363 F.3d at 1146). “The factors are: (1) the purpose of the detention; (2)

the diligence of the police in conducting the investigation; (3) the scope and

intrusiveness of the detention; and (4) the duration of the detention.” Id. at 869.

      The purpose of the detention was to ask Defendant about A.M. and to make

sure that he did not flee while Detectives sought search warrants for his home and

his cell phone (which was seized twelve minutes after the encounter began). As

for the second element, the record shows that Detectives Sullivan and Tucker

were very diligent in conducting their investigation while Defendant waited

outside his apartment.      They were preparing search warrant applications,

interviewing witnesses, and meeting to discuss what each had learned. There was

no unreasonable delay. As for the third factor, Defendant was detained in front of

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his apartment in a public area. While he could not leave, he was not in the back

of a patrol car or handcuffed.

      Finally, the fourth factor (and the one urged by Defendant) is whether the

duration of the detention was reasonable. “There is no rigid time limitation or

bright line rule regarding the permissible duration of a Terry stop.” Acosta, 363

F.3d at 1147. Instead, the “test is one of ‘common sense and ordinary human

experience.’” Id. (quoting United States v. Sharpe, 470 U.S. 675, 685 (1985)).

While the two and one-quarter hour detention here is at the upper end of a

permissible duration, it was not unreasonable when considering the totality of

circumstances. See United States v. Partin, 634 F. App’x 740, 744 (11th Cir.

2015) (per curiam) (“[A]lthough two hours is longer than the average Terry stop,

in this scenario the officers were diligent and the total amount was reasonable in

relation to the purpose of the stop and the necessary scope of the investigation.”).

The officers had a considerable amount of work to do in their investigation and

arrested Defendant as soon as they felt comfortable doing so.

      Although the Court need not decide the issue because the manner and

length of the Terry stop was reasonable under the specific facts presented here,

the undersigned would find that there was probable cause to arrest Defendant

upon Detective Simpson’s initial encounter with him on December 29 (just like

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there was probable cause to seize his cell phone), based on all the evidence that

had been collected to that point. Thus, the issue of whether the Terry stop

matured into a de facto arrest before there was probable cause to do so is

immaterial.

      In sum, there is no basis to exclude any statement Defendant made during

his twelve-minute recorded encounter with Detective Simpson (i.e., Gov’t Ex. 1.)

Therefore, Defendant’s Motion to Suppress Statements should be DENIED.

IV.   CONCLUSION

      For the reasons stated above, the undersigned RECOMMENDS that

Defendant’s Motion to Suppress Evidence [50] be DENIED; and

      FURTHER RECOMMENDS that Defendant’s Motion to Suppress

Statements [51] be DENIED.

      SO RECOMMENDED, this 19th day of December, 2017.




                                __________________________
                                WALTER E. JOHNSON
                                UNITED STATES MAGISTRATE JUDGE




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